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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 CHRISTIAN FENICO, THOMAS                                   CIVIL ACTION
 YOUNG, THOMAS GACK, EDWARD
 MCCAMMITT, TANYA GRANDIZO,
 ANTHONY ANZIDEO, ANTHONY
 ACQUAVIVA, KRISTINE AMATO,
 JOSEPH PRZEPIORKA, WILLIAM                                 NO. 20CV3336
 BOWDREN, RAPHAEL MCGOUGH, and
 FRANCIS T. SHERIDAN,
                 Plaintiffs,

                v.

 CITY OF PHILADELPHIA,
                Defendant.


 MICHAEL MELVIN, DANIEL                                     CIVIL ACTION
 FARRELLY, BRION MILLIGAN, MARK
 PALMA, BRIDGET BANNAN, JESUS
 CRUZ, STEVEN HARTZELL, and
 JOSEPH FOX,
                Plaintiffs,                                 NO. 21CV3209

                v.

 CITY OF PHILADELPHIA,
                Defendant.

                                            ORDER

       AND NOW, this 28th day of October, 2024, upon consideration of Defendant City of

Philadelphia’s Motion for Summary Judgment (20CV3336 at ECF No. 63; 21CV3209 at No. 63)

and all responses and replies thereto (20CV3336 at ECF Nos. 79, 80, 81, 82, 93, 94, 95, 96, 97;

21CV3209 at Nos. 79, 87, 92, 93, 94, 95, 96), IT IS HEREBY ORDERED that Defendant’s

Motion is GRANTED with respect to all Plaintiffs and in accordance with an Opinion to follow.
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                                 BY THE COURT:

                                 /S/WENDY BEETLESTONE, J.


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                                 WENDY BEETLESTONE, J.
